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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                   Plaintiff,              )                   8:09CR251
                                           )
            v.                             )
                                           )
JON G. WHITAKER, JR.,                      )                    ORDER
                                           )
                   Defendant.              )
                                           )


      The defendant, Jon G. Whitaker, Jr., is hereby ordered to self-surrender to the

Bureau of Prisons at or before 12:00 noon, on or before Thursday, July 15, 2010.

      DATED this 8th day of July, 2010.


                                          BY THE COURT:



                                          s/ Joseph F. Bataillon
                                          Chief District Court Judge
